                                                    Thursday, March 3, 2022 at 20:49:21 Central Standard Time


Subject:    Re: Chris*e Andrews v. TriStar Sports and Entertainment Group
Date:       Friday, October 29, 2021 at 8:22:24 PM Central Daylight Time
From:       Daniel Arciniegas
To:         betsy@swaﬀordlawﬁrm.com, tara@swaﬀordlawﬁrm.com, tony@swaﬀordlawﬁrm.com
CC:         roland@mumfordlaw.net, Ruth Stephens, Susanna Stephen
AEachments: Plain*ﬀ's First Set of Requests for Produc*on - FINAL.pdf, Plain*ﬀs First Set of Interrogatories -
            FINAL.pdf

Counsel:

Please find attached Plaintiff’s First Set of Requests for Production and First Set of Interrogatories.
Please include Ruth and Suzie on all case correspondence. Thank you.


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From: Daniel Arciniegas <daniel@aWorneydaniel.com>
Date: Friday, October 29, 2021 at 7:57 PM
To: "betsy@swaﬀordlawﬁrm.com" <betsy@swaﬀordlawﬁrm.com>, "tara@swaﬀordlawﬁrm.com"
<tara@swaﬀordlawﬁrm.com>, "tony@swaﬀordlawﬁrm.com" <tony@swaﬀordlawﬁrm.com>
Cc: "roland@mumfordlaw.net" <roland@mumfordlaw.net>, Ruth Stephens
<rutesperanza@gmail.com>, Susanna Stephen <Suzie@aWorneydaniel.com>
Subject: Chris*e Andrews v. TriStar Sports and Entertainment Group

Counsel:

Please find attached Plaintiff’s First Set of Requests for Admissions, including attachments 1 and 2.
Please include Ruth and Suzie on all case correspondence. Thank you.


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